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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
v.                                             )       1:21-cr-00048
                                               )
SAMMIE LEE SIAS,                               )

                   UNOPPOSED MOTION FOR EXTENSION OF TIME

       COMES NOW Defendant Sammie Lee Sias, by and through his undersigned counsel, and

respectfully requests an extension of time for the filing of pre-trial motions until January 18, 2022.

In support of this request, counsel notes that there have been two productions of discovery

materials so far from the government which include a large amount of highly technical computer

data which require expert examination. Furthermore, the parties are coordinating the physical

inspection of items in this case. Accordingly, counsel for the government does not oppose this

request.

       This request is not designed to delay the disposition of this case. Defendant consents to

this time being excluded from computation for any matters related to trial date requirements.

       Respectfully submitted this 18th day of November, 2021.

                                               CROWDER STEWART LLP

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                                  CERTIFICATE OF SERVICE


       This is to certify that I have this day served all the parties in this case in accordance with the

notice of electronic filing (“NEF”) which was generated as a result of electronic filing in this Court.

                                               /s/ Ken Crowder




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